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 1                                                             Judge Ricardo S. Martinez
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   UNITED STATES OF AMERICA,              )
                                            )                  NO. CR05-417RSM
10                    Plaintiff,            )
                                            )
11              v.                          )
                                            )
12   JOHN JAY CUNNINGHAM,                   )
     LISA LUERA,                            )                  ORDER CONTINUING
13   JUSTIN BRICE WILLIAMS,                 )                  TRIAL DATE AND
     MUHAMMAD ALI ATKINS,                   )                  PRETRIAL MOTIONS
14   JOSEPH TRAN,                           )                  DEADLINE FOR
     LUCUS JOHNNY QUILT,                    )                  DEFENDANT CASPER
15   FAYVE ELI MARY QUILT,                  )
     DIDE CRYSTAL QUILT                     )
16   JOANNE CHRISTIN ROSETTE,               )
     RANGER OPPENHEIM,                      )
17   ERIN CASPER,                           )
     ABRAHAM CHARLES SHEENA,                )
18                                          )
                      Defendants.           )
19    ______________________________________)
20           THIS MATTER comes before the Court on a stipulated motion of the government
21   and defendant ERIN CASPER to continue the trial date and the pretrial motions deadline
22   date. Having considered the entirety of the record and files herein, the Court finds that
23   failure to grant a continuance would likely result in a miscarriage of justice. The case is
24   complex over three thousand pages of discovery, over one thousand intercepted telephone
25   conversations, and hundreds of exhibits. Additionally, the location of the defendant and
26   defense witnesses in Canada require extra time for defense counsel to prepare this matter
27   for trial.
28           It is unreasonable to expect adequate preparation for trial before the current trial

     Order Continuing Trial and Motions                                              UNITED STATES ATTORNEY
     Deadline/Casper, CR05-417RSM –1                                                700 STEWART STREET, SUITE 5220
                                                                                   SEATTLE, WASHINGTON 98101-1271
                                                                                            (206) 553-7970
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 1   date of March 6, 2006. The Court further finds that the interests of the public and the
 2   defendants in a speedy trial in this case are outweighed by the ends of justice.
 3           IT IS NOW, THEREFORE, ORDERED that trial of defendant ERIN CASPER be
 4   continued to June 5, 2006, and that the time between the date of this Order and the new
 5   trial date be excludable time under the Speedy Trial Act pursuant to Title 18, United
 6   States Code, Sections 3161(h)(8)(A), 3161(h)(8)(B)(I), and 3161(h)(8)(B)(ii).
 7           IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
 8   April 3, 2006.
 9           Dated this 23rd day of February, 2006


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                                                      RICARDO S. MARTINEZ
12                                                    UNITED STATES DISTRICT JUDGE
     Presented by:
13

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     s/ Lisca Borichewski
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     Order Continuing Trial and Motions                                            UNITED STATES ATTORNEY
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